Case 5:18-mj-00102-DUTY Document 3 Fi|e.d105/15/18 Page 1 of 5 Page lD #:95

Case 5:18-mj-OOlOZ-DUTY *SEALED* Document l-l *SEALED* Flled 04/02/18 Page 2 of ll

 

 

 

 

 

_ Page | D #:38
AO 93 (Rev. 12/09) Search and Sezzure Warranl (Page 2)
Return
Case No..' Date and tirne warrant executed: Copy of warrant and inventory left with.'
5: lawn-102 ¢,//5/20/? di 30 /l/`t. /(/oc/eéa,/\ ?z//\/
/

Inventory rnade in the presence of .'

//Q/MQ own //0 , os. nga /f»spee#@)<

 

Inventory of the property taken and name cf any person(s) seized.'

[Please_ provide a description that Would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the Warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as Well as the approximate
volume of any documents seized (e.g., number of boxes). Ifrefereuce is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

Room A:

-Documents regarding House Cleaning Business
-l\/lail for Trenton Bush

Room B:

-2 l\/lisc. mail pieces.

Room C:

-l\/|all in names of others.

-l\/lai| in the name of Rebekah Rockett.

-1 Pink color RCA tablet.

-l box in the name ofJ.J.

-1 box in the name of L.H.

Room D:

-Three parcel boxes addressed to a ”L.C.”

 

Certz'ficaz‘ion Qby efficer present during the execution of the Warrant)

 

] declare under penalty of perjury that ] arn an o]jicer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's O]j‘ice.

Date: 5%§4 /°7

 

LE:€cuting ojj‘t`cer ’s signature

6 gaf/joke , an ??:A/z/W/{¢/we

Printed name and title

 

 

 

 

n AUSA: Tom Rybarczyl< (213.894.8452)

Case 5:18-mj-00102-DUTY Document 3 Filed 05/15/18 Page 2 of 5 Page lD #:96

  
 

 

` sEARcH wARRANT leENToRY P»sm°~BOX-: /

       

 

 

 

 

 

 

 

 

 

 

 

 

 

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subject Address; (a\%\&`l Lc»~ '\o\\a.,. Jo§hva T¢"€,<Q Floor/Room No. \ A'
lnspeccor(s); mA-RRTLAD qzz§z case No._$€% 5 SLlD ” \V\‘i'
safe: cabiner: credenza: Desk: orawer:
sham Table: wan; ozher:
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PS Fonn 8164, October 1993

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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W sEARcH wARRANT leENToRY P<»SMBQ»:__/

§§
Subject Name:'ROC.."<`Q:\'-" ]/ wCA\/\Lr\Oerh Date: "// 5_// S/

dose uame , ,

Subject Address: id \5-'\_\ ha _i 0 lLA. B(`~ CA~ q?,?.gl_ Floor/Room No. 173
|nspector(s): (LY`l/`thw Case No. 35% 5 3“\0 *M `\"
Sale: Cabinet: Credenza: Desk: Drawer:
Shelf: Tab|e: Wal|: Other:

QUANT|TY DESCR|PT|ON OF |TEMS

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PS Form 8164, chber 1993

§ Case 5:18-mj-00102-DUTY Document 3 Filed 05/15/18 Page 4 of 5 Page lD #:98
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sEARcH wARRANT leENToRY P°S“‘°~B°*-=

subject Name:R_o_<.J£»£_ti`jLLLlc;M l/`C;¢ perez "F,/ ¢)"// Su(
s d oahu 0~ IV€Q \ ,
Subiect Address: M§SMME_$_& F|oor/Room No. h

 
 
  

 

 

 

 

 

 

 

 

lnspector(s): C\ V`~Mi U© Case No. /;q z/g &C'/ 0
Safe: Cabinet: Credenza: Desk: Drawer:
Shelf: Table: Wall: Other:

QUANT|TY DESCR|PTION OF |TEMS

 

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